                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 23-2396

                                     United States of America

                                                      Appellee

                                                 v.

                                        Marcus O. Millsap

                                                      Appellant


______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                 (4:17-cr-00293-BSM-45)
______________________________________________________________________________

                                             ORDER

       Appellant’s motion for permission to file an overlength brief is denied. Appellant

received three extensions of time to file this brief and had sufficient time and opportunity to seek

permission to file an overlength brief in compliance with Eighth Circuit Rule 28A(l). Appellant

is granted to November 13, 2023 to file a brief in compliance with the Rules.



                                                       October 30, 2023




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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